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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

---------------------------------------------------------------
UNITED STATES OF AMERICA,                                       :
                                                                :
                         Plaintiff,                             : CRIMINAL NO: 2:19-cr-00064-JLS-1
         v.                                                     :
                                                                :
JOHN DOUGHERTY,                                                 :
                                                                :
                         Defendant.                             :
                                                                :
-----------------------------------------------------------------
      DEFENDANT JOHN DOUGHERTY’S PRE-TRIAL MEMORANDUM OF LAW

        Defendant John Dougherty, by and through his undersigned counsel, herby submits this

pre-trial memorandum of law in advance of his October 4, 2021 trial on Counts 97-109 of the

Indictment.

I.      INTRODUCTION

        On September 24, 2021, both the government and defendants Dougherty and Robert

Henon, submitted to the Court proposed jury instructions. These instructions illustrate the

government’s fundamental misapprehension of the current, recently-developed law as it must

apply in this trial as to precisely what the government must prove. This is particularly true with

regard to the applicable law setting forth the quid pro quo agreement the government must prove

existed and which is the essence of a bribery charge and the relevant intent that the government

must prove, beyond a reasonable doubt, to convict Dougherty at trial. Therefore, prior to the

commencement of this trial, Dougherty provides the following legal memorandum setting forth

the applicable law establishing the government’s burden of proof at trial in order to assist the

Court during the course of the trial and as the evidence is presented.1


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     Dougherty is aware that the Court has yet to hold a conference on the jury instructions that
     were submitted to the Court on September 24, and therefore, has neither adopted nor


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II.     LAW GOVERNING THE HONEST SERVICES FRAUD CHARGES

        18 U.S.C. §§ 1341 and 1343 criminalize any “scheme or artifice to defraud, or for

obtaining money or property by means of false or fraudulent pretenses, representations or

promises.” The phrase “scheme or artifice to defraud” encompasses “a scheme or artifice to

deprive another of the intangible right of honest services.” 18 U.S.C. § 1346. In Skilling v.

United States, 561 U.S. 358 (2010), the Supreme Court limited the application of § 1346 to only

the “solid core” of honest services fraud prosecutions, to wit “the paradigmatic cases of bribes

and kickbacks.” Id. at 407-09, 411. In doing so, the Court made clear that a prosecution based

upon a conflict of interest alone was impermissible. Id. at 408 (holding that such prosecutions

“would raise the due process concerns underlying the vagueness doctrine.”). Therefore, while §

1346 reaches criminalizes schemes “to deprive another of the intangible right of honest

services,” it does so only to the extent that such schemes reach “fraud based on bribes and

kickbacks and not based on a failure to disclose a conflict of interest.” United States v.

Ciavarella, 716 F.3d 705, 729 (3d Cir. 2013) (citing Skilling, 561 U.S. at 409-12).

        The honest services statute’s prohibitions on bribes and kickbacks “draws content not

only from the pre-McNally case law, but also from federal statutes proscribing – and defining –

similar crimes.” Skilling, 561 U.S. at 412 (citing, for example, 18 U.S.C. §§ 201(b), 666(a)(2)).

In United States v. Sun-Diamond Growers of California, 526 U.S. 398 (1999), the Supreme

Court held that 18 U.S.C. § 201

                requires a showing that something of value was corruptly given,
                offered, or promised to a public official (as to the giver) or
                corruptly demanded, sought, received, accepted, or agreed to be

      endorsed either party’s submission. Thus, Dougherty does not seek to litigate those issues
      through this pre-trial memorandum. Rather, he submits this memorandum in an effort to
      assist the Court and to provide the relevant legal context to the evidence that is to be
      presented at trial during the government’s case in chief.



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               received or accepted by a public official (as to the recipient) with
               intent, inter alia, “to influence any official act” (giver) or in return
               for “being influenced in the performance of any official act”
               (recipient).

Id. at 404. See also United States v. Kemp, 500 F.3d 257, 281 (3d Cir. 2007) (construing federal

bribery and gratuity statute, 18 U.S.C. § 201, which is “equally applicable to bribery in the

honest services fraud context”).

       A.      Bribery Requires that the Government Establish a Quid Pro Quo

       To establish honest services fraud based upon bribery, the government must demonstrate

that there was a quid pro quo. United States v. Wright, 665 F.3d 560, 567 (3d Cir. 2012). This

requires: an offer by an offeror to provide something of value (the quid) to a public official,

made with the specific intent to influence (the pro) an official action (the quo). See Sun-

Diamond, 526 U.S. at 404-05 (bribery involves a “quid pro quo – a specific intent to give or

receive something of value in exchange for an official act”). Moreover, “[b]ecause the relevant

timing in a bribery case is that of the agreement (and not any resulting exchange),” the

government must establish that at the time the parties entered into the alleged quid pro quo, they

both possessed the relevant intent (as defined below). United States v. Menendez, 291 F. Supp.

3d 606, 620 (D.N.J. 2018); see also United States v. Fernandez, 722 F.3d 1, 19 (1st Cir. 2013)

(emphasizing that the time of the agreement is the pertinent inquiry when determining whether

the defendant possessed the relevant intent, not the time of the payment). Thus, the government

must prove, beyond a reasonable doubt, that Dougherty entered into an agreement – express or

implied – by which he would give Henon something of value in order to influence Henon to take

“official action” – as defined by McDonnell v. United States, __ U.S. __, 135 S. Ct. 2355 (2016)

– that he would not otherwise take. Wright, 665 F.3d at 568.




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               1.      The Government Must Establish that Dougherty Acted with the
                       Specific Intent to Influence Henon to Take an Official Action

       The government has the burden of proving beyond a reasonable doubt that the defendants

had the “specific intent to give or receive something of value in exchange for an official act.”

Menendez, 291 F. Supp. 3d at 612 (citing Sun-Diamond, 526 U.S. at 404-05) (emphasis in

original). Specifically, the government must prove that the “payor provided a benefit to a public

official intending that he will thereby take favorable official acts that he would not otherwise

take.” Wright, 665 F.3d at 568 (emphasis added); see also Menendez, 291 F. Supp. 3d at 619

(same). The timing is central to establishing this element as the government must prove that

Dougherty possessed this intent at the time the agreement was made to provide Henon with

something of value. Menendez, 291 F. Supp. 3d at 614-15 (noting that the government “has

always been required to prove that a public official agreed to perform an ‘official act’ at the time

of the alleged quid pro quo.”); see also United States v. Silver, 948 F.3d 538, 553 (2d Cir. 2020)

(“Even though the particular act of influence need not be identified at the time of the official’s

promise, the particular question or matter to be influenced must be.” (emphasis in original)).

               2.      The Government Must Prove the Existence of an Official Act
                       Consistent with McDonnell

       As noted, the government must prove that at the time the alleged quid pro quo was

formed, Dougherty must have possessed the specific intent to influence Henon to take “official

action” he would not otherwise take. The Supreme Court narrowed and defined with precision

what constitutes “official action” for purposes of bribery prosecutions and, thus, narrowed and

defined with precision what Dougherty must have contemplated at the time the alleged quid pro

quo was entered. The McDonnell Court explained that “official action” has two components.

First, the government must “identify a ‘question matter, cause, suit, proceeding or controversy’

that ‘may at any time be pending’ or ‘may be law be brought’ before a public official.” Id. at


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2368 (quoting 18 U.S.C. § 201(a)(3)). Second, the government “must prove that the public

official made a decision or took an action ‘on’ that question, matter cause, suit, proceeding, or

controversy, or agreed to do so.” Id. (emphasis added).

       A “question, matter, cause, suit, proceeding or controversy,” must be “a formal exercise

of governmental power that is similar in nature to a lawsuit before a court, a determination

before an agency, or a hearing before a committee.” Id. at 2372. Importantly, the Court noted

that “it must also be something specific and focused that is ‘pending’ or ‘may by law be brought

before a public official.’” Id. (emphasis added); see also id. at 2374 (noting that the “‘question

matter cause suit proceeding or controversy’ must be more specific and focused than a broad

policy objective.”). The Court further described it as “something that is relatively circumscribed

– the kind of thing that can be put on an agenda, tracked for progress, and then checked off as

complete.” Id. at 2369.

       Second, the government must demonstrate that the public official “make a decision or

take an action on that question or matter, or agreed to do so.” Id. at 2370. Not every decision or

action “customarily performed by a public official, such as the myriad decisions to refer a

constituent to another official,” however, constitutes an “official act.” Id. at 2371. Where the

government alleges that the public official influenced another public official to act, it must

demonstrate that the official used his “position to exert pressure on another official to perform an

‘official act,’ or to advise another official, knowing or intending that such advice will form the

basis for an ‘official act’ by another official.” Id. at 2372. Indeed, the Court in McDonnell was

clear – “[s]etting up a meeting, talking to another official, or organizing an event (or agreeing to

do so) – without more” does not constitute and official act. Id.




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       Accordingly, in this case, the government bears the burden of proving that Dougherty and

Henon entered into a quid pro quo agreement – either express or implied. It must then prove that

at the time that agreement was formed – not at some later time and not at the time any specific

thing of value was provided – both Dougherty and Henon both possessed the requisite intent.

That is, the government must prove that, at the time of the agreement, Dougherty intended to

influence Henon to take “official action” that he would not otherwise take. The “official action”

contemplated by Dougherty must meet the definition of “official action” set forth by the

Supreme Court in McDonnell. Therefore, the government must prove that, at the time the quid

pro quo agreement was entered, Dougherty possessed the specific intent to influence Henon to

“make a decision or take an action” on “specific and focused” “question(s), matter(s), cause(s),

suit(s), proceeding(s) or controvers(ies).” Id. at 2372-74. In other words, to establish bribery

post-McDonnell, the government must prove, among the other relevant elements, that the

“question(s), matter(s), cause(s), suit(s), proceedings(s) or controvers(ies)” were “specific at

focused” at the time of the alleged quid pro quo agreement even if the specific decision or action

to be taken on them were not.

 Dated: October 2, 2021                           Respectfully submitted,


                                                  /s/ Henry E. Hockeimer, Jr.                      .
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